         Case 8:05-cr-00179-PJM                 Document 755           Filed 01/13/14         Page 1 of 1


                                                              U.S. Probation and Pretrial Services
                                                              MEMORANDUM


       DATE:      January   7, 2t11~

         TO:      The 1I0norabie Peter J. Messitte
                  Seoior, United Stales District J        e

    FROM:         Jessica Turro
                  U.S. Probation     om r
SUBJECT:          COFIELD, r.arl
                  Docket No.: 8:05CROtlI79-tlOl
                  Expiralion Dale: 05/0512(114

On June 6. 2006, the .bove-named individual appeared before Your Honor for senlencing on
Distribution of 500 grams or morc of a mixlure or substance containing a detectable amount of cocaine.
lIe was commined to the custody of the Bureau of Prisons for 53 months, $100 special assessment and 4
years supervised release. Special conditions of supervision: I) The defendant shall not incur new credit
charges or open additional lines of credit withoulthe approval of the probation officer, 2) The defendant
sh.1I satisfactorily pa'1icipate in a vocational or edue.tion.1 program as directed by the probation officer.
Mr. Cofield's fin.ncial obligations were paid in full on February 11,2008.

Mr. Cofield currently resides in Washington, DC and therefore is being supervised in the District of
Columbia. According to his probation oflicer, Mr. CofIeld maintains a stable residence and is gainfully
employed with Caribbean Cargo as a laborer.

Mr. Cofield is requesting permission for foreign travel. He wants to travel with his girlfriend to Trinidad
from February 1,2014 to February 17,2014. Our office has no objections to international travel in this
case. Mr. Cofield has a passport, which will allow him entry to Trinidad.

Assistant United Stales Attorney      Davill Salem has been cor:tacted and has no objection to this travel.
Please indicate Your Honors        approval or disapproval below.

PERMISSION        FOR FOREIGN          TRA VEL
   V Approved
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____        Disapproved

Comments:


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